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2018R00177/VSL




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY



 UNITED STATES OF AMERICA                      :      Hon.
                                               :
       v.                                      :      Crim. No.
                                               :
 DAVID BERKOWITZ                               :      26 U.S.C. § 7203


                                  INFORMATION

        The United States Attorney for the District of New Jersey charges:

        1.       At all times relevant to this Information:

                 a.    Defendant DAVID BERKOWITZ (“BERKOWITZ”) was a resident

of Woodcliff Lake, New Jersey. BERKOWITZ owned and received income from

cryptocurrency exchange kiosks and a business that buys and sells various point of

sale equipment and other electronic products.

                 b.    The Internal Revenue Service (“IRS”) required taxpayers to file

individual income tax returns when a taxpayer’s gross income for any calendar year

exceeded the sum of the personal exemption and standard deduction available to the

taxpayer based on his or her filing status for that tax year.

                 c.    For calendar year 2018, BERKOWITZ was required to file an

individual income tax return with the IRS because his gross income exceeded the

threshold described in paragraph 1(b) above.

        2.       On or about October 15, 2019, in Bergen County, in the District of New

Jersey and elsewhere, the defendant,

                                  DAVID BERKOWITZ,
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knowing and believing the foregoing facts and being required to make a tax return

for the tax year 2018, did knowingly and willfully fail to make an income tax return

to the IRS for the tax year 2018.

      In violation of Title 26, United States Code, Section 7203.


                                                ______________________
                                                PHILIP R. SELLINGER
                                                United States Attorney




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